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Civil Action No. 4:19-cv-00096-TUC-LCK

PROOF OF SERVICE

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (Y))
Mallinckrodt, Inc. c/o The Corporation Trust Company, Agent for

This summons for (name of individual and title, ifany) Service of Process |

was received by me on (date) 6/11/2019

© I personally served the summons on the individual at (place)
on (date)

 

5 or

 

6 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

I served the summons on (name of individual) Daisy Montenegro, Intake Specialist ’ who is

designated by law to accept service of process on behalf of (name of organization) Mallinckrodt, Inc. c/o

The Corporation Trust Company, Agent for Service of Process ni (date) 6/13/2019 at 10:12am __ > OF

5 or

 

 [ returned the summons unexecuted because

O Other (specify):

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

a Server 's signature
Juan Soriafio, Registered CA Process Server
#2014182718 / Los Angeles County
Printed name and title
OnDemand Legal, Inc. (916) 329-8636
901 H Street Ste 107
Sacramento, CA 95814
Reference No. 192657

Server's address

Date: June 17, 2019

Additional information regarding attempted service, etc:

ADDITIONAL DOCUMENST SERVED:
Complaint; Notice to Parties - Mandatory Initial Discovery Pilot Project

 
